      Case 3:21-cv-00778-EMC Document 214 Filed 04/27/22 Page 1 of 6




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 8

 9                              UNITED STATES DISTRICT COURT

10                             NORTHERN DISTRICT OF CALIFORNIA

11                                 SAN FRANCISCO DIVISION

12

13 ESC-TOY LTD., a Nevada corporation,            Case No. 3:21-cv-00778-EMC

14                Plaintiff,                      DEFENDANT SONY INTERACTIVE
                                                  ENTERTAINMENT, LLC’S REPLY IN
15         v.                                     SUPPORT OF MOTION FOR
                                                  CLARIFICATION REGARDING ORDER
16 SONY INTERACTIVE ENTERTAINMENT,                [DKT. NO. 197] GRANTING FOLEY &
   LLC, a California limited liability company,   LARDNER’S MOTION TO WITHDRAW
17                                                [DKT. NO. 196]
                 Defendant.
18                                                Judge:   Hon. Edward M. Chen
                                                  Date:    May 12, 2022
19                                                Time:    1:30 p.m.
                                                  Dept.:   Courtroom 5 – 17th Floor
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         DEFENDANT SONY’S REPLY IN SUPPORT OF MOTION FOR CLARIFICATION RE DKT. NO. 197;
                                  CASE NO. 3:21-CV-00778-EMC
          Case 3:21-cv-00778-EMC Document 214 Filed 04/27/22 Page 2 of 6




 1            Foley and ESC (“ESC”) agree in their Opposition (ECF No. 209) that this Court can

 2 condition Foley’s withdrawal. ESC disingenuously argues that SIE has not demonstrated

 3 “prejudice” or “the harm that withdrawal might cause to the administration of justice,” however,

 4 ESC is well aware of SIE’s concerns. ESC does not address in any meaningful way the grounds

 5 that SIE laid out in support of its motion, which were also conveyed to Foley when SIE learned of

 6 its intent to withdraw. These same concerns were identified previously when ESC’s Nevada

 7 counsel sought to withdraw in this action. And these concerns were also raised with the Honorable

 8 Judge Selna in the Central District of California when the Foley attorneys sought to withdraw

 9 from a different matter involving ESC and SIE’s subsidiary Insomniac Games, and in that case

10 conditions were placed on Foley’s withdrawal. (ESC-Toy Ltd. v. Insomniac Games, Inc., Case No.

11 2:21-cv-02139-JVS-GJS at ECF No. 160 (C.D. Cal. Apr. 8, 2022).

12            SIE seeks to protect its confidential information (which Foley has had access to without a

13 Protective Order) and to ensure that this Court would have ancillary jurisdiction over Foley for

14 any later motion practice over fees, costs, Rule 11 violations, and/or other appropriate remedies or

15 sanctions. Foley agreed that this Court could retain ancillary jurisdiction over it. Foley further

16 agrees in its opposition that it has confidentiality obligations to SIE. However, without

17 conditional withdrawal, SIE does not have an immediate enforcement mechanism to ensure

18 compliance with those obligations. These same Foley attorneys signed the Complaint and

19 subsequent court filings in this action, made statements to the Court and SIE regarding ESC’s

20 claims and their scope, and were personally engaged in the conduct concerning SIE’s former in-

21 house counsel which is currently under investigation.1 Foley’s request for withdrawal while SIE’s

22 investigation is pending further amplifies the need for this Court’s intervention. This Court

23 maintains an interest in overseeing such a potential dispute involving conduct that has occurred

24 before it. While the Foley attorneys say they are subject to and bound by the California Rules of

25 Professional Conduct, previous lead counsel David Wright is not admitted to practice law in

26 California and does not reside in California. Moreover, Sterling Brennan, of Maschoff Brennan,

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28       SIE has confirmed the deposition of the referenced former SIE in-house counsel for May 27th.
                                                        1
            DEFENDANT SONY’S REPLY IN SUPPORT OF MOTION FOR CLARIFICATION RE DKT. NO. 197;
                                     CASE NO. 3:21-CV-00778-EMC
       Case 3:21-cv-00778-EMC Document 214 Filed 04/27/22 Page 3 of 6




 1 was not involved personally in this case nor even actively working at Maschoff Brennan when

 2 ESC’s suit was filed. SIE should not be caught in a potential battle between Maschoff Brennan

 3 and the Foley attorneys in terms of who is responsible. And, SIE should not have to engage in

 4 enforcement efforts in Utah or have to file separate proceedings because, after two years of

 5 litigation, ESC has chosen to change lead counsel again, and the Foley attorneys seek to withdraw.

 6          As stated in SIE’s Motion, SIE requests that the Foley attorneys’ withdrawal be

 7 conditioned upon this Court’s express retention of ancillary jurisdiction over each of the

 8 withdrawing attorneys for the purposes of any motion(s) brought by SIE for fees, costs, and/or

 9 other appropriate remedies or sanctions, as well as compliance with this Court’s sealing orders

10 (Dkt. Nos. 140, 154, 160, and 163) and the Nevada Court’s sealing order (ESC Toy Ltd. v. Sony

11 Interactive Entertainment LLC and Insomniac Games, Inc., Case No. 2:20-cv-00726- GMN-VC

12 (D. Nev.) Dkt. No. 70). The Foley attorneys should also maintain any SIE information they have

13 had access to, as a result of their representation of ESC, as confidential and deemed subject to the

14 terms of the parties’ October 5, 2020 confidentiality agreement for settlement discussions and the

15 September 21, 2021 Judicate West mediation agreement, which shall survive termination of this

16 Action. ESC has given no argument as to why these conditions should not be imposed and at least

17 implicitly agree to them in its opposition.

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         DEFENDANT SONY’S REPLY IN SUPPORT OF MOTION FOR CLARIFICATION RE DKT. NO. 197;
                                  CASE NO. 3:21-CV-00778-EMC
      Case 3:21-cv-00778-EMC Document 214 Filed 04/27/22 Page 4 of 6




 1 Dated: April 27, 2022                     Respectfully submitted,

 2                                           RIMON, P.C.
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                                         By: /s/ Karineh Khachatourian
 5                                           Karineh Khachatourian
                                             Nikolaus A. Woloszczuk
 6                                           Oren J. Torten
 7
                                             Attorneys for Defendant,
 8                                           Sony Interactive Entertainment LLC

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        DEFENDANT SONY’S REPLY IN SUPPORT OF MOTION FOR CLARIFICATION RE DKT. NO. 197;
                                 CASE NO. 3:21-CV-00778-EMC
       Case 3:21-cv-00778-EMC Document 214 Filed 04/27/22 Page 5 of 6




 1                                      CERTIFICATE OF SERVICE

 2            I, Jorge Alejandro, declare as follows:

 3            I am employed in Santa Clara County, State of California. I am over the age of eighteen

 4 years and not a party to this action. My business address is Rimon, P.C., 2445 Faber Place, Suite

 5 250, Palo Alto, California 94303.

 6            I served a copy of the following documents on the person(s) below, as follows:

 7            DEFENDANT SONY INTERACTIVE ENTERTAINMENT, LLC’S REPLY IN
              SUPPORT OF MOTION FOR CLARIFICATION REGARDING ORDER [DKT.
 8            NO. 197] GRANTING FOLEY & LARDNER’S MOTION TO WITHDRAW [DKT.
              NO. 196]
 9

10                    BY MESSENGER SERVICE: I served the documents by placing them in an
                      envelope or package addressed to the person(s) at the addresses listed below and
11                    providing them to a professional messenger for service.
12                    BY OVERNIGHT DELIVERY: I enclosed the documents in an envelope or
                      package provided by an overnight delivery carrier and addressed to the person(s) at
13                    the addresses listed below. I placed the envelope or package for collection and
                      overnight delivery at an office or a regularly utilized drop box of the overnight
14                    delivery carrier.

15        X           BY ELECTRONIC SERVICE: I caused the documents to be sent to the person(s) at
                      the e-mail addresses listed below.
16

17            I declare under penalty of perjury under the laws of the State of California that the

18 foregoing is true and correct. Executed on April 27, 2022 at Palo Alto, California.

19   Sterling A. Brennan                                    Robert T. Stewart
     Christina Trinh                                        David R. Wright (Pro Hac Vice admitted)
20   Saloni Mathur                                          Maren Laurence (Pro Hac Vice admitted)
     Maschoff Brennan                                       Foley & Lardner, LLP
21   100 Spectrum Center Drive, Suite 1200                  136 South Main Street, Suite 400
     Irvine, California 92618                               Salt Lake City, UT 84101
22   Telephone: (949) 202-1900                              Telephone: (414) 297-5297
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                                                            Prior Attorneys for Plaintiff ESC-Toy Ltd
25
     Attorneys for Plaintiff ESC-Toy Ltd.
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                                                        4
         DEFENDANT SONY’S REPLY IN SUPPORT OF MOTION FOR CLARIFICATION RE DKT. NO. 197;
                                  CASE NO. 3:21-CV-00778-EMC
      Case 3:21-cv-00778-EMC Document 214 Filed 04/27/22 Page 6 of 6




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 5   Attorneys for Plaintiff ESC-Toy Ltd.
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 9                                                    Jorge Alejandro

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        DEFENDANT SONY’S REPLY IN SUPPORT OF MOTION FOR CLARIFICATION RE DKT. NO. 197;
                                 CASE NO. 3:21-CV-00778-EMC
